Case 1:19-cv-23225-FAM Document 32 Entered on FLSD Docket 05/18/2021 Page 1 of 2




                          UNITED STATES DISTRICT COURT FOR THE
                              SOUTHERN DISTRICT OF FLORIDA
                                      Miami Division

                              Case Number: 19-23225-CIV-MORENO

  CINDY DIFFENDERFER,

                 Plaintiff,
  vs.

  NGD HOMESHARING, LLC, a Florida
  limited liability company, and HARVEY
  HERNANDEZ, individually,

              Defendants.
  _________________________________________/

                         FINAL ORDER OF DISMISSAL AND ORDER
                        DENYING ALL PENDING MOTIONS AS MOOT

         THIS CAUSE came before the Court upon Joint Stipulation of Dismissal with prejudice

  (D.E. 31), filed on May 14, 2021.

         THE COURT has considered the notice and the pertinent portions of the record, and is

  otherwise fully advised in the premises. It is

         ADJUDGED that this Cause is DISMISSED with prejudice, with each party bearing its

  own fees and costs. Fed. R. Civ. P. 41(a)(1)(A)(ii). The Court reserves jurisdiction for six

  months to enforce the terms of the settlement. Further, all pending motions are DENIED as

  MOOT with leave to renew if appropriate.

         DONE AND ORDERED in Chambers at Miami, Florida, this 18th of May 2021.




                                        _____________________________________
                                              FEDERICO A. MORENO
                                              UNITED STATES DISTRICT JUDGE
Case 1:19-cv-23225-FAM Document 32 Entered on FLSD Docket 05/18/2021 Page 2 of 2




  Copies furnished to:

  Counsel of Record




                                       2
